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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                                Ref. No. 702


       REPORT OF ASSET SALES PURSUANT TO ORDER AUTHORIZING AND
            APPROVING PROCEDURES FOR THE SALE OR TRANSFER
    OF DE MINIMIS ASSETS AND FUND ASSETS FREE AND CLEAR OF ALL LIENS,
                  CLAIMS, INTERESTS AND ENCUMBRANCES

                In accordance with the Order (I) Authorizing and Approving Procedures for the
Sale or Transfer of Certain De Minimis Assets and Fund Assets and (II) Approving Assumption,
Assignment and Rejection Procedures and (III) Granting Related Relief [D.I. 702] (the
“Order”), 2 during the calendar month ended April 30, 2023, the Debtors consummated Sales for
the De Minimis Assets and Fund Assets listed on Exhibit A attached hereto.




1
     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
     and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
     the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
     complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
     is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
     All capitalized terms used but otherwise not defined herein shall have the meanings set forth in the Order.
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Dated: May 10, 2023                LANDIS RATH & COBB LLP
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                                   -and-

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                                   Counsel for the Debtors and Debtors-in-Possession




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